                     uU1CL & Mitm
Case 3:12-mj-02547-DEA
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                                        UNITED STAThS
                                                       DISTRICT couT
                                           DISTRICT OF’ N
                                                          EW JERSEY
         UNITED STATES
                       OF          AMERICA
                                                                       Honorable Douglas
                  v.                                                                           Arpert
                                                                       Mag. No. 12-2547
        RANDY I3INDER                                                                         (VA)



                                                                      ORDER FOR
                                                                                         CONTlNtJANCl
              This matter having
                                     been opened to the
                                                            Court by Paul!. Fi
      the District of Ne                                                         shman, United Sta
                           w Jersey (Jonatha                                                            tes Attorney for
                                                 n W. Romankow
                                                                      , Assistant U.S.
      deèndant RANDY                                                                        Attorney, appearing
                             BINDER (Steven                                                                         ), and
                                                  Altman, Esq., ap
                                                                      pearing), for an
     of the proceeding                                                                   order granting a
                      s in the above-                                                                       continiianee
                                             dptioed inai;
                                                               átd three Continua
     granted; and the de                                                                 nces having pre
                          fendant being aw                                                              viously been
                                               are that he has the
                                                                     right to have the
    Juty within thirty                                                                   matter presented to
                         (30) days of the dat                                                                  a Grand
                                              e    of his arrest pu
                                                                      rsuant to Title 18
    defEiiant through                                                                       U.sc. § 3161; aiid
                      his attorn   ey having wa                                                                      the
                                                   ived such rights
                                                                       and consented to
   good and sufficient                                                                      the continuance;
                          cause shown,                                                                         and fir

          IT IS THE FTND
                                JNfl OF Tills
                                                    COURT that thi
                                                                  s action should
   following reasons:                                                                        be continued for
                                                                                                                    the

                 1. Plea negotiations
                                            urrenEIy are in
                                                              progress, and bo
         defendant desire                                                     th the United Sta
                             additional time to                                                         tes and the
                                                   enter a plea in
                                                                     Court, whIch wo
        of this matter Un                                                            uld      thereby render trial
                            flecessary.
                2 f)e1ndant has
                                        consented to the
                                                           forementjoncd co
               3. The grant of                                                  ntinuance.
                                  a conhinuance wi
                                                       ll likely conserve
                                                                            judicial resources,
               4. Pursuani to
                                 Title 18 olthe U
                                                      ntd States Co
                                                                        de, Section 31
       ofjustice served by                                                                61(h)(7A) the
                             granting the co                                                                 ends
                                              ntinuance outw
                                                               eigh the best intere
      defendants i a                                                                 sts ofthe public
                         speedy rraI,                                                                    arid the
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                                                                   .
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               WJ-lERfFORp on this
                                          Zay
               ORDERED that the procee
                                          dings in the
                                                         above-captioned mttey
        21, 2012 through                                                         are continued from
                           Febnmry 19, 2013; and                                                      December
                                                   it is further
              ORDERED that the
                                    period between from
                                                            December 21 2012
       shall be exc1dab1e                                                    thniugh Eebruaiy 19,
                            in emputing time                                                             2013
                                               under the Speedy
                                                                   Trial Act of 1974.




                                           1-ION, DOUGLAS
                                                              AR FRT
                                           United States Magi
                                                                te Judge



    Form and entry
    consented to:




   STEVEN ALTMAN,
                        Esq.
   Counsel for Defendati
                         Randy   Binder




                                                                                                 TDTL F.4
